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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                      vs                                1:04-CR-313

JOHN E. HOWARD, III,
                         Defendant.
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APPEARANCES:                                            OF COUNSEL:

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DAVID N. HURD
United States District Judge
                                        ORDER

         Defendant has moved pursuant to Fed. R. Crim. P. 29 to set aside the jury verdict

and enter a judgment of acquittal (Docket No. 366). The Government opposes. (Docket No.

377).

         Based upon United States v. Howard, 400 F. Supp. 2d 457 (N.D.N.Y. May 3, 2005),

and United States v. Howard, 406 F. Supp. 2d 215 (N.D.N.Y. Dec. 30, 2005), vacated on

other grounds, 489 F.3d 484 (2d Cir. 2007), the motion is DENIED.

         IT IS SO ORDERED.
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Dated:   March 7, 2008
         Utica, New York.




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